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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

                           Case No. 2:19-cv-00142-SPC-MRM

STRIKE 3 HOLDINGS, LLC, a limited liability
company,

      Plaintiff,

v.

JOHN DOE subscriber assigned IP address
174.63.150.232, an individual,

      Defendant.

                                              /

DECLARATION OF TOBIAS FIESER IN SUPPORT OF PLAINTIFF’S MOTION FOR
   LEAVE TO SERVE A THIRD PARTY SUBPOENA PRIOR TO A RULE 26(f)
                          CONFERENCE




                        [Remainder of page intentionally left blank]




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                                       EXHIBIT B
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   DECLARATION OF TOBIAS FIESER IN SUPPORT OF PLAINTIFF'S MOTION FOR
       LEAVE TO TAKE DISCOVERY PRIOR TO A RULE 26(1) CONFERENCE

  I, Tobias Fieser, do hereby state and declare as follows:

          1.      My name is Tobias Fieser. I am over the age of 18 and am otherwise competent

  to make this declaration.

          2.      This declaration is based on my personal knowledge and, if called upon to do so, I

  will testify that the facts stated herein are true and accurate.

          3.      I am employed by IPP International UG ("IPP"), a German company, in its

  litigation support department.

         4.       IPP provides forensic investigation services to copyright owners including an

  ability to track, monitor, and detect copyright infringement in an online environment. Strike 3

  Holdings, LLC ("Strike 3") hired IPP to monitor and record online infringement of its movies.

         5.      One of the services that IPP provides is that its system monitors the BitTorrent

  file distribution network for the presence of copyrighted works.        IPP's forensic software

  identifies Internet Protocol ("IP") addresses that are being used by infringers to distribute

  copyrighted works within the BitTorrent File Distribution Network.

         6.      As part of my employment with IPP, I was assigned the task of overseeing,

 analyzing, and reviewing the results of this investigation. I have previously provided the same

 support for thousands of copyright infringement lawsuits across the United States, and I gave full

 and complete testimony about the forensic scanning process during the "BitTorrent Bellwether

 Trial" (Malibu Media v. John Does, 12-cv-2078, (E.D. Pa. Jan. 3, 2013)).

         7.      After reviewing IPP's forensic activity records, I determined that IPP's forensic

 servers connected to an electronic device using IP Address 174.63.150.232.             After this

 connection, Defendant's IP Address of 174.63.150.232 was documented distributing to IPP's

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  servers multiple pieces of Strike 3's copyrighted movies listed on Exhibit A to Strike 3 's

 Complaint.

         8.        Each piece was recorded in a PCAP, which stands for "packet capture" and is a

 forensically sound interface for recording network traffic. The time recorded is quoted in

 Universal Time which correlates to the assignment logs kept by United States Internet Service

 Providers (ISPs) tracking which IP Address is assigned to which customer at a given point in

 time. The infringement appears consistent and on-going.

         9.        IPP's software additionally analyzed each BitTorrent "piece" distributed by

 Defendant's IP Address. It verified that reassembling the pieces using a specialized BitTorrent

 client results in a fully playable digital movie.

         10.       A digital file can be identified by what is called a "Cryptographic Hash Value."

 This concept was developed by the United States National Security Agency. IPP's software

 determined that the files being distributed by Defendant's IP Address have a unique identifier of

 the Cryptographic Hash outlined on Exhibit A.

        11.        IPP's software is programmed to only allow it to download files from the

 BitTorrent Network. It is unable to distribute content. At no point did IPP distribute any part of

 Strike 3's copyrighted movies at any time.

         12.       IPP additionally confirmed through its ancillary worldwide BitTorrent

 surveillance program that IP address 174.63.150.232 is associated with significant long term

 BitTorrent use.




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                                        DECLARATION

         PURSUANT TO 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the
  laws of the United States of America that the foregoing is true and correct.

        Executed on this   !;"6.l,   day of�(A � , 201.9_.

                                      TOBIAS FIESER

                                      By:�




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